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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


UNITED STATES OF AMERICA                   §
                                           §
                                           §
                                           §
                                           §       No. H-11-CR-340
THUONG THOMAS-MORE VO                      §
STEVEN MARSHALL BOEHNING                   §
HUNG VAN DANG                              §

                                          ORDER

       The attached Court’s Instructions to the Jury at Conclusion of Trial was charged to

the jury on even date and is to be entered in the record.

              SIGNED on August 29, 2012, at Houston, Texas.


                                                ______________________________________
                                                         Lee H. Rosenthal
                                                   United States District Judge
